UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
POONITA BEEMSIGNE,
                                                                                   Case No.: 15-CV-4742
                                                                                   (RRM)(SMG)
                            Plaintiff,
                                                                                  NOTICE OF MOTION TO
                                                                                  WITHDRAW AS
                                                                                  COUNSEL BY JAMIE
                                                                                  HAAR, ESQ.
                  - against -

THE NEW YORK CITY DEPARTMENT OF
EDUCATION,

                             Defendant.
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         PLEASE TAKE NOTICE that upon the Declaration of Jamie Haar, attorney of record for

Plaintiff Poonita Beemsigne, will move this Court before the Honorable Judge Steven M. Gold, at

the United States Courthouse, Eastern District of New York, 225 Cadman Plaza E, Brooklyn, NY

11201, for an Order granting Jamie Haar’s Motion to Withdraw as counsel for Plaintiff.



Dated: Long Island City, New York
       March 4, 2016


                                                                 WHITE, RICOTTA & MARKS, P.C.


                                                                 By:       ______/s__________________
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                                                                           Attorneys for Plaintiff
